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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

KAMIL KUKLINSKI, individually and on behalf
of all others similarly situated,
                                                 Case No. 3:21-cv-01425-SPM
            Plaintiff,
                                                 Hon. Stephen P. McGlynn
v.
BINANCE CAPITAL MANAGEMENT CO.,
LTD. d/b/a BINANCE, BAM TRADING
SERVICES INC. d/b/a BINANCE.US, and
JUMIO CORPORATION,

            Defendants.




              BINANCE CAPITAL MANAGEMENT CO., LTD.’S
MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED CLASS ACTION COMPLAINT
                AND MEMORANDUM OF LAW IN SUPPORT




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                                         INTRODUCTION

        In its original motion to dismiss, Binance Capital Management (“BCM”) explained that

Plaintiff had offered no basis to hale BCM into this Court, because BCM has no connection to Illinois

or the alleged privacy violations at issue. Although Plaintiff had the benefit of BCM’s previous

motion (and the supporting evidence) demonstrating that BCM has no connections to this State that

would support a basis for personal jurisdiction, Plaintiff did not amend his complaint to plead any

new jurisdictional facts. Instead, the First Amended Complaint (“FAC”) corrected the spelling of

Plaintiff’s name and added allegations regarding Defendant Jumio’s policies concerning biometric

data.

        In other words, with the (barely) amended allegations, there is still no factual basis to assert

jurisdiction over BCM or to conclude that BCM played any role in the alleged statutory violations.

        As BCM explained previously, Plaintiff contends that when he downloaded the BAM Trading

Services Inc. (“Binance.US”) application—which, again, is entirely unrelated to BCM—he provided

biometric data without giving written consent or being provided information purportedly required

under Illinois’ Biometric Information Privacy Act (“BIPA”). Once again, however, Plaintiff fails to

allege, and cannot contend in good faith, that BCM—which does not operate in or have any

connections to Illinois—played any role in the alleged statutory violations. Instead, Plaintiff baldly

avers that BCM was supposedly involved with Binance.US as a “co-conspirator,” “agent,” or “alter

ego.” But Plaintiff does not, and cannot (despite now having had two opportunities), plead facts to

support any of those theories.

        This Court does not need to reach the merits of the nearly nonexistent allegations against

BCM, because there is no basis for asserting personal jurisdiction over it. As the FAC acknowledges,

BCM is incorporated in the British Virgin Islands. It lacks any contacts with Illinois, let alone

sufficient minimum contacts, that would authorize the exercise of personal jurisdiction. It does no
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business in Illinois. It owns no property in Illinois. It maintains no agent for service of process in

Illinois. It maintains no bank accounts, offices, post office boxes, telephone numbers, or other

business facilities in Illinois. It seeks no revenue here. Forcing BCM to litigate in Illinois plainly

would violate BCM’s constitutional rights.

       Given the complete absence of any nexus between BCM and Illinois, it comes as no surprise

that Plaintiff does not allege any facts to support personal jurisdiction. Instead, Plaintiff tenuously

alleges that BCM and Binance.US are co-conspirators and agents of one another, and that BCM is an

alter ego of Binance.US. But Plaintiff’s assertion of jurisdiction on these various bases is vague,

conclusory, and unsupported by the facts. These theories therefore provide no alternative basis for

asserting jurisdiction here. If this Court were to hold otherwise, it would be overruling decades of

Supreme Court jurisprudence foreclosing personal jurisdiction in these circumstances. If proclaiming

in rote fashion that there is a conspiracy, that one defendant is an agent of another, or that one

defendant is the alter ego of another were sufficient to establish jurisdiction, foreign defendants would

lose all due-process protections guaranteed to them under the U.S. Constitution and could

theoretically be haled into court in any state. And Plaintiff was, of course, well aware of these

deficiencies because BCM spelled them out in its prior motion. Yet Plaintiff made no credible effort

to fix the jurisdictional shortcomings in his FAC. He cannot do so.

       Moreover, although this Court need not reach the merits, given the FAC’s singular focus on

the interactions between Plaintiff and the Binance.US platform, Plaintiff has also (unsurprisingly)

failed to plead any legally cognizable claims against BCM. Even if that were not the case, the Illinois

BIPA does not apply extraterritorially, so the BIPA claim must be dismissed on that basis as well.

And Plaintiff’s wholly derivative, tacked-on “unjust enrichment” claim fails for the added reason that

Plaintiff has not alleged that Binance.US’s supposed lack of disclosures or failure to obtain written

consent was detrimental to him or altered his behavior.
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            The FAC is Plaintiff’s second bite of the apple, one it took after seeing BCM’s original motion

to dismiss. Dkt. 27. Yet with respect to BCM, Plaintiff’s allegations are still insufficient to show

personal jurisdiction under Federal Rule of Civil Procedure 12(b)(2), and the FAC still alternatively

fails to state a claim under Rule 12(b)(6). The FAC therefore must be dismissed as to BCM, with

prejudice.

                                              BACKGROUND

    I.      The Parties

            Binance Capital Management Co., Ltd. was founded in 2019 and organized under the laws

of the British Virgin Islands. Declaration of Samantha Chan (“Chan Decl.”) ¶ 2; FAC ¶ 17.1 BCM

is an investment holding company. Chan Decl. ¶ 3.

            As the FAC alleges, BCM is a “foreign corporation.” FAC ¶ 17. BCM does not engage in

any business at all in Illinois. Chan Decl. ¶ 5. BCM is not registered to do business in Illinois, and

its principal place of business is not in Illinois. Id. ¶¶ 5–6. BCM maintains (1) no office or mailing

address in Illinois, (2) no books or records in Illinois, and (3) no agent for service of process in

Illinois. Id. ¶¶ 6, 9, 10, 12. And BCM is not the parent company of any subsidiary in Illinois. Id.

¶ 8.

            Other Entity Defendants. In addition to BCM, the FAC names Binance.US, alleging it is a

Delaware corporation headquartered in California. FAC ¶ 18. Binance.US is a cryptocurrency

exchange available to users in the United States via website or mobile app. Id. ¶ 5. As Plaintiff

apparently recognized in filing the FAC, compare FAC ¶ 15, with Compl. (Dkt. 1-1) ¶ 14, BCM and




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         The Chan Declaration attached to this motion is the same declaration that BCM previously
         attached to its motion to dismiss the original complaint (see Dkts. 27, 27-1).
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Binance.US are separate and distinct legal entities, Chan Decl. ¶ 19, that are represented by separate

counsel in this action. Binance.US is neither a parent nor a subsidiary of BCM. Id. ¶¶ 17–18.

             The FAC also names Jumio Corporation, a Delaware corporation headquartered in California,

as a defendant. FAC ¶ 19. It alleges that Jumio created the “capture process for biometric identifiers”

used by Binance.US. Id.

    II.      Plaintiff’s Allegations

             Plaintiff filed this putative class action on October 4, 2021, alleging that (1) all three

defendants violated the Illinois BIPA and (2) BCM and Binance.US were unjustly enriched. Compl.

¶¶ 48–64. After all Defendants filed motions to dismiss, Dkts. 27–28, 30, Plaintiff filed his slightly

revised (e.g., correcting the spelling of his own name) FAC—which brings the same causes of action

against the same Defendants, FAC ¶¶ 54–70—on February 22, 2022.2

             The FAC alleges that to use “the Binance.US app” users must create an account. FAC ¶ 8.

To do so, “the Binance.US website and mobile applications” require potential users to undergo a

“personal identity verification process,” which asks users to take a “selfie” in order “to capture,

analyze and compare biometric data of the user’s facial features.” Id. ¶¶ 9, 24. The purpose of this

identity verification process is to avoid fraudulent or unauthorized users from accessing the

Binance.US exchange. Id. ¶ 10. The FAC alleges that “Binance, Binance.US, and Jumio obtained

biometric identifiers and information from users of the Binance.US exchange, including facial

geometry data, without first notifying them, without disclosing the length for collection, storage and

use of this information and without obtaining proper written consent.” Id. ¶ 15.




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          Plaintiff’s FAC fails to comply with the Southern District of Illinois’ local rule concerning
          amended pleadings, which requires that “[a]ll new material in an amended pleading must be
          underlined.” L.R. 15.1.
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       On March 15, 2021, Plaintiff allegedly downloaded the Binance.US iPhone application. FAC

¶ 26. When he created his account, Plaintiff reviewed and accepted a “Self-Directed Custodial

Account Agreement,” which the FAC alleges did not reference the collection of biometric data. Id.

¶ 28. In addition, Plaintiff was allegedly prompted to take a photograph of his face using a camera

screen “within the Binance.US application.” Id. ¶ 30. The FAC alleges that Plaintiff was not given

proper notice “from defendants” that the images would be used to capture his personal biometric data

and that Plaintiff was not informed that his biometric data would be collected, for what purpose it

would be used, or for how long it would be stored “by Binance.US and Jumio.” Id. ¶¶ 32–34. The

FAC further alleges that on May 25, 2021, the Binance.US Android and iOS applications were

updated to include a notification asking users to consent to the collection of biometric data. Id. ¶¶ 35–

36; see also id. ¶¶ 40, 43 (alleging that neither Binance.US’s “Terms of Use” nor “Privacy Policy”

speaks to the collection of biometric data).

       The FAC includes scarcely any allegations directed at BCM. It baldly alleges that BCM “with

assistance and control from or as an alter ego of Binance.US, collected [Plaintiff’s] and other Illinois

Binance.US users’ biometric information and identifiers or is otherwise responsible for the collection

of this biometric data.” FAC ¶ 44. Contra Compl. ¶ 40 (alleging that BCM “was the entity that

directly collected” the biometric information and identifiers from Plaintiff and other users). To

circumvent the fact that BCM is not responsible for the operation of the Binance.US platform, the

FAC alleges in an entirely conclusory manner that “[e]ach defendant acted as an aider, abettor and

co-conspirator of the other defendant, or is obligated by law to be financially responsible for such

conduct,” because “each defendant acted as the agent, employee, representative, partner or joint

venture of the other defendant in the commission of the acts alleged,” and “authorized or ratified” the

acts of the other defendants. FAC ¶ 20. But there are no factual allegations supporting these

conclusory assertions.
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                                                  ARGUMENT

    I.       The FAC Must Be Dismissed Because This Court Lacks Personal Jurisdiction Over
             BCM.

             Plaintiff has not alleged, and cannot in good faith allege, that there is any basis for this Court

to assert personal jurisdiction over BCM.

             A federal court sitting in diversity has personal jurisdiction over a defendant only if a state

court in that same state would have jurisdiction. Heartland Barge Mgmt., LLC v. Precon Marine,

Inc., No. 20-CV-573-SPM, 2020 WL 6544775, at *2 (S.D. Ill. Nov. 6, 2020). Illinois’ long-arm

statute contains a catchall provision (735 ILCS 5/2-209(c)) that collapses the jurisdictional inquiry

into the single issue of whether a defendant’s in-state contacts are sufficient to satisfy federal and

Illinois due process. Wiggen v. Wiggen, 954 N.E.2d 432, 437 (Ill. Ct. App. 2011); see also Aspen

Am. Ins. Co. v. Interstate Warehousing, Inc., 90 N.E.3d 440, 444 (Ill. 2017) (federal due process

requires that a defendant have certain minimum contacts with the state so maintenance of the suit

does not offend traditional notions of fair play and substantial justice). The Illinois Supreme Court

has recognized two categories of personal jurisdiction that are subject to the due-process analysis:

“general or all-purpose jurisdiction and specific or case-linked jurisdiction.” Rios v. Bayer Corp.,

178 N.E.3d 1088, 1094 (Ill. 2020). Neither provides a basis for jurisdiction over BCM.3




3
         Even when—unlike here—a complaint’s allegations satisfy a plaintiff’s prima facie jurisdictional
         burden, the defendant may challenge those jurisdictional allegations by furnishing the court with
         an affidavit, and if it does so the “plaintiff must go beyond the pleadings and submit affirmative
         evidence supporting the exercise of jurisdiction.” Heartland Barge, 2020 WL 6544775, at *2
         (citation omitted); Stone v. Corrigan Bros., Inc., No. 20-cv-261-SPM, 2020 WL 6889249, at *3
         (S.D. Ill. Nov. 24, 2020) (while fact questions are usually resolved in a plaintiff’s favor, once the
         defendant raises the issue of jurisdiction, it is “up to plaintiff to produce evidence supporting their
         position”). As explained herein, Plaintiff cannot provide the necessary evidence with respect to
         BCM.
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        A.      This Court Does Not Have General Personal Jurisdiction Over BCM.

        The standard for establishing general jurisdiction in Illinois is “quite high,” requiring that a

“foreign defendant has in effect taken up residence” in the State. Wiggen, 954 N.E.2d at 438. The

United States Supreme Court has held that where a defendant’s “slim contacts with the State hardly

render it at home there,” the “exercise[] of all-purpose jurisdiction” would be “exorbitant” and is thus

barred by the Due Process Clause of the Fourteenth Amendment to the United States Constitution.

Daimler AG v. Bauman, 571 U.S. 117, 121–22, 136–39 (2014). In other words, jurisdiction may be

found when the foreign corporation’s “affiliations with the State are so ‘continuous and systematic’

as to render [it] essentially at home in the forum State,” and its operations are carried on “with a fair

measure of permanence and continuity.” Id.; Wiggen, 954 N.E.2d at 438. The reverse is true—i.e.,

general jurisdiction does not exist—when the nonresident defendant conducts business in Illinois

only “occasionally or casually” or, as in this case, not at all. Id. (citation omitted).

        The FAC (like the complaint before it) has not alleged, and Plaintiff cannot credibly assert,

that this Court has general personal jurisdiction over BCM. As an initial matter, the “paradigm”

forum where an entity is “essentially at home” is its place of incorporation or principal place of

business. Aspen American, 90 N.E.3d at 445. But BCM is not incorporated in Illinois and does not

have its principal place of business here. FAC ¶ 16 (alleging BCM is a foreign corporation registered

in the British Virgin Islands); Chan Decl. ¶ 2.

        In addition, this is not an “exceptional case” where BCM’s business contacts are so

continuous and systematic as to suggest it has in effect taken up residence in the State. Aspen

American, 90 N.E.3d at 445. BCM does not engage in any business in Illinois. It is not registered to

do business here. Chan Decl. ¶ 5. It maintains no place of business here. Id. ¶ 6. It has no subsidiary

in the State. Id. ¶ 8. It solicits no business here. Id. ¶ 14. It does not have property, bank accounts,

telephone numbers, books and records, or agents for service of process in Illinois. Id. ¶¶ 7, 9, 10, 12.
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        Plaintiff effectively concedes there is no basis to hold BCM essentially at home in Illinois.

FAC ¶¶ 16, 21. This Court plainly does not have general, all-purpose jurisdiction over BCM.

        B.      This Court Does Not Have Specific Personal Jurisdiction Over BCM.

        Unlike general jurisdiction, “specific” personal jurisdiction is claim specific, requiring a

showing that the defendant purposefully directed its activities at the forum state and that the cause of

action arose out of or relates to the defendant’s contacts with that state. Rios, 178 N.E.3d at 1094–

95. For example, in McGoveran v. Amazon Web Services, Inc., the court held in another BIPA action

that there was no specific personal jurisdiction over a foreign voiceprint service provider when there

was no indication that it purposefully directed activities at Illinois citizens or that the litigation arose

from contacts it created with Illinois, although plaintiffs contended that the foreign defendant

“collected, possessed, and used the voiceprints of Illinois citizens who placed calls from within

Illinois.” 488 F. Supp. 3d 714, 722 (S.D. Ill. 2020). The court reasoned that the defendant applied

its voice biometric technology to “every caller,” “not just those calls initiated by Illinois residents”

(i.e., there was “no indication” defendants “specifically targeted Illinois citizens”). Id.; see also

Lexington Ins. Co. v. Hotai Ins. Co., 938 F.3d 874, 878–79 (7th Cir. 2019) (no specific jurisdiction

over Taiwanese company that did not purposefully direct its activities at Wisconsin, because “it is a

defendant’s contacts with the forum state, not with the plaintiff, that count” and “the financial benefit

gained from broad geographic insurance coverage does not constitute ‘doing business’ with the entire

covered territory”).

        For the reasons already discussed, Plaintiff cannot show that BCM purposefully directed any

activities at Illinois or that his causes of action relate to BCM’s contacts with the State. Instead,

Plaintiff merely alleges in the FAC’s “Parties, Jurisdiction and Venue” section that “Defendants”—

not BCM specifically—have “transacted business related to the matters complained of herein and

have made or performed related contracts substantially connected with the State of Illinois.” FAC
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¶ 21. But that sort of conclusory, vague allegation is insufficient to establish a prima facie showing

of personal jurisdiction over a nonresident defendant.         Aspen American, 90 N.E.3d at 444;

Mohammed v. Uber Techs., Inc., 237 F. Supp. 3d 719, 735 (N.D. Ill. 2017). Moreover, Plaintiff’s

own allegations dispel the notion that BCM is one of the “Defendants” that transacts business and

enters contracts in Illinois. The FAC alleges that Plaintiff downloaded the Binance.US application,

created an account, and submitted personal identifying (including biometric) information to the

Binance.US application. FAC ¶¶ 25–26, 29–31. BCM, however, does not operate Binance.US.

       It is unsurprising Plaintiff has not specifically alleged that BCM purposely directed its

activities at Illinois. As Plaintiff recognizes, BCM is neither incorporated nor registered to do

business in Illinois. FAC ¶ 17; Chan Decl. ¶ 5. BCM maintains no place of business or other facility

in Illinois. Chan Decl. ¶ 6. BCM does not own, rent, or otherwise use property in Illinois. Id. ¶ 7.

BCM has no subsidiary in Illinois. Id. ¶ 8. BCM maintains no bank accounts, telephone numbers,

or books or records in Illinois. Id. ¶ 9. BCM has no agent for service of process in Illinois. Id. ¶ 12.

None of the executives or directors of BCM resides in Illinois. Id. ¶ 11. BCM does not solicit any

business in Illinois or otherwise seek revenue from the State. Id. ¶¶ 14–15.

       Despite Plaintiff’s single conclusory allegation to the contrary, BCM has never purposefully

directed any activities at Illinois and therefore Plaintiff’s causes of action do not relate to BCM’s

(nonexistent) contacts with this State. As a result, this Court cannot exercise specific personal

jurisdiction over BCM.

       C.      Plaintiff May Not Manufacture Jurisdiction With Unsupported Allegations of
               Conspiracy, Agency, or Alter Ego.

       Plaintiff appears to recognize that the facts alleged do not establish a basis for asserting

personal jurisdiction over BCM, so the FAC attempts to invoke groundless “conspiracy,” “agency,”



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and “alter ego” theories of jurisdiction instead. Plaintiff, however, fails to plead any facts that would

support these indirect theories of jurisdiction.

        For example, the FAC alleges that BCM, “with assistance and control from or as an alter ego

of Binance.US, collected [Plaintiff’s] . . . biometric information and identifiers.” FAC ¶ 44. This is

the only occasion when the FAC mentions “alter ego” jurisdiction. And it does not allege any facts

in support of that alter ego theory—it does not allege that BCM “dominate[s] and control[s]

Binance.US,” that Binance.US is a subsidiary of BCM, that BCM arranged financing for Binance.US,

that BCM controls the flow of money between the corporations (or that there is a flow of money

between them), that BCM treats Binance.US’s extra cash as its own, or that BCM exercises complete

control over the daily affairs of its subsidiaries. See Old Orchard Urban Ltd. P’Ship v. Harry Rosen,

Inc., 904 N.E.2d 1050, 1061–63 (Ill. Ct. App. 2009) (discussing alter ego theory).

        Similarly, the FAC alleges that “[e]ach defendant acted as a[] . . . co-conspirator of the other

defendant, or is obligated by law to be financially responsible for such conduct” and that “each

defendant acted as the agent, employee, representative, partner or joint venture of the other defendant

in the commission of the acts alleged.” FAC ¶ 20. Again, that is the lone paragraph in which the

FAC invokes either the co-conspirator or agency theories in order to support jurisdiction, and it

alleges no facts in support of either theory. Plaintiff has not alleged BCM’s “knowing participation”

in or agreement to join any conspiracy to not follow the BIPA’s statutory requirements, and it is “not

enough to simply allege the existence of a conspiracy.” Plastic Film Corp. of Am., Inc. v. Unipac,

Inc., 128 F. Supp. 2d 1143, 1146 (N.D. Ill. 2001); Real Colors, Inc. v. Patel, 974 F. Supp. 645, 650–

51 (N.D. Ill. 1997); see also In re Honey Transshipping Litig., 87 F. Supp. 3d 855, 873 (N.D. Ill.

2015) (a general averment of conspiracy is not enough to establish that a defendant purposefully

availed itself of the benefit of Illinois’ laws or should have expected to be called into Illinois’ courts);

Bittman v. Fox, 2015 WL 5612061, at *6 (N.D. Ill. Sept. 23, 2015) (holding that the conspiracy theory
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of personal jurisdiction did not apply, because plaintiff did not allege an actual conspiracy, did not

supply a single detail of the alleged concerted activity, and only hinted at a conspiracy).

         The FAC likewise does not allege any facts to support an “agency relationship” between BCM

and Binance.US, Madison Miracle Prods., LLC v. MGM Distrib. Co., 978 N.E.2d 654, 677 (Ill. Ct.

App. 2012), such as when a subsidiary corporation conducts the parent corporation’s business rather

than its own, Old Orchard Urban, 904 N.E.2d at 1058–59.4

         As a result, the FAC’s wholly conclusory invocation of the “conspiracy,” “agency,” and “alter

ego” theories is not sufficient to withstand dismissal on jurisdictional grounds. Shanahan v. Nat’l

Auto Prot. Corp., 2020 WL 3058088, at *6 (N.D. Ill. June 9, 2020) (plaintiff failed to sufficiently

allege a plausible agency relationship and thus did not make out a prima facie case of personal

jurisdiction over defendants); Pena v. Gray Line Corp., 2018 WL 2388411, at *3 (N.D. Ill. May 25,

2018) (conclusory allegations that defendants conduct business, advertise, and own property in the

State without details as to the nature of that activity are insufficient to establish personal jurisdiction

in Illinois).

         Even if Plaintiff’s conspiracy allegation were factually supported (it is not), that allegation

still could not serve as a basis for asserting personal jurisdiction, because the “conspiracy

jurisdiction” theory is not recognized under Illinois law. As courts in this district have recognized,

the theory of conspiracy jurisdiction “has been heavily criticized by a number of courts in Illinois due

to concern regarding viability of the theory as a basis for personal jurisdiction, while still complying

with the Due Process Clause.” Cebulske v. Johnson & Johnson, No. 14–cv–627–DRH–SCW, 2015


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      The suggestion that Binance.US is both a co-conspirator and agent of BCM is particularly
      nonsensical—“[b]y alleging a conspiracy . . . [a] plaintiff effectively rules out any agency
      relationship,” because the “acts of an agent are considered in law to be the acts of the principal”
      and there “can be no conspiracy between a principal and an agent.” Ploense v. Electrolux Home
      Prods., Inc., 882 N.E.2d 653, 659 (Ill. Ct. App. 2007) (citation omitted).
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WL 1403148, at *2–4 (S.D. Ill. Mar. 25, 2015) (noting the “strong trend that something more than

an attenuated link is necessary to establish a defendant’s personal jurisdiction” and dismissing for

lack of personal jurisdiction based on a conspiracy theory); see also Heartland Barge, 2020 WL

6544775, at *2 (jurisdiction proper only when the contacts at issue “result from actions by the

defendant himself that create a ‘substantial connection’ with the forum” (emphasis added)).

       The Seventh Circuit has likewise suggested that Illinois does not authorize conspiracy

jurisdiction. The Seventh Circuit recognized that the “problem with [the conspiracy jurisdiction]

argument is that the theory may not be valid in Illinois,” because the Illinois Supreme Court

“‘effectively scuttl[ed] the theory.’” Smith v. Jefferson Cnty. Bd. of Educ., 378 F. App’x 582, 585

(7th Cir. 2010) (quoting Ploense v. Electrolux Home Prods., Inc., 882 N.E.2d 653, 666 (Ill. Ct. App.

2007)); see Ritchie Capital Mgmt. LLC v. Costco Wholesale Corp., 2018 WL 1565593, at *6 (N.D.

Ill. Mar. 30, 2018) (“Illinois courts do not recognize conspiracy participation as a basis for long-arm

jurisdiction, and the Seventh Circuit has ‘dashed cold water on the prospect.’” (citation omitted));

Page v. Democratic Nat’l Comm., 2020 WL 8125551, at *3 (N.D. Ill. Aug. 17, 2020) (“Conspiracy

theories of jurisdiction are not viable under Seventh Circuit and Illinois law.”), aff’d, 2 F.4th 630 (7th

Cir. 2021).

       And in the wake of the Supreme Court’s decision in Walden v. Fiore, 571 U.S. 277 (2014),

conspiracy jurisdiction clearly violates due process and should be rejected “out of hand.” In re Dental

Supplies Antitrust Litig., 2017 WL 4217115, at *7 (E.D.N.Y. Sept. 20, 2017) (holding it “highly

unlikely that any concept of conspiracy jurisdiction survived the Supreme Court’s ruling in Walden”).

Therefore, even when plaintiffs (unlike the Plaintiff here) do adequately plead the existence of a

conspiracy encompassing a nonresident defendant, that does not justify the exercise of jurisdiction

by an Illinois court over a foreign defendant with no direct connections to the State.


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       Further, even if the FAC had alleged facts in support of agency or alter ego jurisdiction

sufficient to satisfy Plaintiff’s prima facie burden (it did not), the evidence shows that BCM and

Binance.US are not alter egos of each other and have no agency relationship. BCM and Binance.US

are separate and distinct legal entities. Chan Decl. ¶ 19. Binance.US is not a wholly or partially

owned subsidiary of BCM, and BCM neither dominates nor controls Binance.US.                 Id. ¶ 18.

Binance.US conducts no business operations on behalf of BCM, and BCM exercises no control over

the daily operations of Binance.US. Id. ¶ 20. BCM neither finances the operations of Binance.US

nor treats its cash flow as BCM’s own. Id. ¶ 21. BCM and Binance.US do not file consolidated tax

returns in Illinois or any other jurisdiction. Id. ¶ 22. BCM does not pay for any of Binance.US’s

operating costs. Id. ¶ 20. And BCM and Binance.US do not share office space, and each entity

maintains its own corporate records. Id. ¶ 23. There is no evidence to suggest that Binance.US’s

alleged actions in Illinois can properly be imputed to BCM.

                                          *       *       *

       BCM and Binance.US are “separate legal entities,” meaning “the minimum contacts of one

[Binance.US] are not the minimum contacts of another [BCM].” Khan v. Gramercy Advisors, LLC,

61 N.E.3d 107, 128 (Ill. Ct. App. 2016). Because the contacts of BCM are insufficient to satisfy

federal or state due-process standards, there is no personal jurisdiction over it here, and the FAC—as

it relates to BCM—must be dismissed with prejudice.

 II.   Alternatively, the Court Should Dismiss the FAC Because It Does Not Adequately Plead
       Any Claims Against BCM.

       In addition to the lack of any cognizable jurisdictional basis, Plaintiff’s effort to drag BCM

into his dispute against Binance.US and Jumio fails for the alternative reason that Plaintiff cannot

state any viable legal claim against BCM. Plaintiff cannot credibly allege that BCM violated the

Illinois BIPA (Count I) or was unjustly enriched (Count II).

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         The FAC’s allegations as to BCM are essentially nonexistent. The FAC alleges that Plaintiff

downloaded the Binance.US iPhone application and created an account. FAC ¶ 26. The FAC alleges

that Plaintiff and other account holders of Binance.US had their biometric data collected. Id. ¶ 25.

The FAC alleges that Plaintiff and other users were prompted to take pictures of their faces using a

camera screen within the Binance.US application. Id. ¶ 30. And the FAC alleges that the Binance.US

Android and iOS/iPadOS applications were updated in May 2021 to include a biometric data

disclaimer. Id. ¶¶ 35–36. None of the FAC’s “Factual Allegations” implicates BCM, and BCM does

not operate and is not associated with the Binance.US trading platform. Chan Decl. ¶ 16.5

         The FAC attempts to skirt that glaring problem in the “Causes of Action” section by

repeatedly referring to the actions of “Defendants.” FAC ¶¶ 57–58, 60, 62, 63–65, 69. But the

“Factual Allegations” section makes clear that Plaintiff’s quarrel actually concerns the alleged actions

or omissions of entities other than BCM. See id. ¶¶ 25–26, 30, 35–36. And a complaint may not

survive dismissal by simply “lumping all of the defendants together.” Patel v. Fendler, No. 15-cv-

0366-MJR-SCW, 2016 WL 336017, at *3 (S.D. Ill. Jan. 28, 2016); see also Bank of Am., NA v.

Knight, 725 F.3d 815, 818 (7th Cir. 2013) (because “[l]iability is personal,” the allegation that “the




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      Plaintiff’s original complaint alleged that “Binance.US collects fees and earns revenue” related
      to the trading of cryptocurrency and that “Binance.US and Jumio obtained biometric identifiers
      and information from users of its exchange.” Compl. ¶¶ 5, 14 (emphasis added). The FAC adds
      “Binance” to each of these allegations, in apparent recognition of the fact that the allegations as
      to BCM were nearly nonexistent. FAC ¶¶ 6, 15. But those additions cannot salvage Plaintiff’s
      claims against BCM, given that the relevant underlying factual allegations—which relate only to
      Binance.US and Jumio, not BCM—remain unchanged. Nance v. NBCUniversal Media, LLC,
      2018 WL 1762440, at *5 (N.D. Ill. Apr. 12, 2018) (dismissing a count with prejudice because,
      “[h]aving seen Defendants’ Motions, Plaintiff simply change[d] his story,” and reasoning that
      allowing “[s]uch earnest gamesmanship” would “only waste the Court’s and the parties’ time”);
      Aasen v. DRM, Inc., 2010 WL 2698296, at *3 (N.D. Ill. July 8, 2010) (granting motion to dismiss
      when the “revised allegations in the amended complaint reflect[ed] an intentional manipulation
      to avoid the consequences of defendants’ appropriate motion to dismiss”).
                                                                                  (Cont’d on next page)
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defendants looted the corporation” is insufficient under “normal pleading standards,” and a

“complaint based on a theory of collective responsibility must be dismissed”); Eilenfeldt v. United

CUSD #304 Bd. of Educ., 2013 WL 12248080 (C.D. Ill. Mar. 25, 2013) (noting that by “continually

lumping ‘the Defendants’ together Eilenfeldt violate[d] Rule 8(a)’s requirement that she give the

Defendants fair notice of the claims against them” and holding that the “group pleading [was] also

problematic because . . . it [was] simply impossible for some of Eilenfeldt’s allegations to be brought

against all of the Defendants”).        In short, the group pleading Plaintiff relies on is plainly

impermissible under Rule 8(a).6

         Moreover, Plaintiff cannot rope BCM into this litigation by simply saying magic words like

“co-conspirator,” “agent,” and “alter ego.” On a single occasion the FAC alleges that BCM

“collected [Plaintiff’s] and other Illinois Binance.US users’ biometric information and identifiers or

is otherwise responsible for the collection of that data,” “as an alter ego of Binance.US.” FAC ¶ 44

(emphasis added). As explained above, the conclusory assertion that BCM is the alter ego of

Binance.US is insufficient to avoid dismissal. A court must reject a plaintiff’s argument that

defendants “each may appropriately be held liable for the acts of the others” based on the notion that

they are “mere ‘alter egos’ of one another,” when the complaint fails to “plead sufficient factual

material” that “would support a finding of [] liability based on corporate veil piercing.” Swiss

Reinsurance Am. Corp. v. Access Gen. Agency, Inc., 571 F. Supp. 2d 882, 885 (N.D. Ill. 2008)

(granting motion to dismiss). Likewise, in a single paragraph Plaintiff alleges that each defendant

acted as the “agent” and “co-conspirator of the other defendant.” FAC ¶ 20. For the same reason,




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      Even if the Court were to credit these “Defendant” allegations against BCM (it should not), it
      must still dismiss as to BCM because the allegations would constitute only a “formulaic recitation
      of the elements” of Plaintiff’s causes of action that the Supreme Court has made clear “will not
      do.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).
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the mere invocation of those concepts—without further factual support—is insufficient to survive

dismissal. See Knight, 725 F.3d at 818 (“even for allegations of conspiracy . . . it remains essential

to show that a particular defendant joined the conspiracy and knew of its scope,” and the “complaint

does not get even that far”); Connick v. Suzuki Motor Co., 675 N.E.2d 584, 592 (Ill. 1996) (“A

complaint relying on agency must plead facts which, if proved, could establish the existence of an

agency relationship. It is insufficient to merely plead the legal conclusion of agency.”); Shanahan,

2020 WL 3058088, at *6 (dismissing complaint when plaintiff failed to plausibly allege the agent’s

authority or principal’s ratification in attempting to plead an agency relationship). The Court should

therefore reject Plaintiff’s apparent effort to impute the alleged actions of Binance.US to BCM by

incanting co-conspirator, agent, and alter ego without any support.

       Even if Plaintiff had directed his allegations at BCM, his BIPA claim would still fail because

BIPA does not apply extraterritorially. Rivera v. Google Inc., 238 F. Supp. 3d 1088, 1100 (N.D. Ill.

2017); Monroy v. Shutterfly, Inc., 2017 WL 4099846, at *5 (N.D. Ill. Sept. 15, 2017) (“BIPA does

not apply extraterritorially.”). The “majority of circumstances relating to the alleged violation” here

are not alleged to have occurred in Illinois. Landau v. CNA Fin. Corp., 886 N.E.2d 405, 409 (Ill. Ct.

App. 2008); see, e.g., FAC ¶¶ 17–19 (alleging all of the defendants are foreign corporations). Indeed,

as explained above, BCM has no connection to this State. Chan Decl. ¶¶ 5–23. And Plaintiff’s

Illinois residency and allegation that he downloaded the Binance.US application when he was in

Cook County (FAC ¶¶ 16, 26) are insufficient to show the required Illinois connection. See

McGoveran v. Amazon Web Servs., Inc., 2021 WL 4502089, at *4 (D. Del. Sept. 30, 2021) (reasoning

that a “plaintiff’s residency is not enough to establish an Illinois connection in order to survive a

motion to dismiss based on extraterritoriality” and collecting Illinois cases); see also Stroman Realty,

Inc. v. Allison, 2017 WL 2589983, at *7 (Ill. App. Ct. June 13, 2017). As a result, Plaintiff’s BIPA

claim must be dismissed on this basis as well.
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        Finally, Plaintiff’s unjust enrichment claim is also insufficiently pleaded. As an initial matter,

the claim is completely derivative of the BIPA claim, and must therefore be dismissed as to BCM for

the same reasons. Cleary v. Philip Morris Inc., 656 F.3d 511, 517 (7th Cir. 2011).

        In addition, the unjust enrichment claim cannot stand because the FAC fails to allege that

Plaintiff would have acted differently if Binance.US had provided the required disclosures or

obtained written consent pursuant to the BIPA. In Cleary, the plaintiffs’ unjust enrichment theory

rested on the contention “that they had a legal right to know about the true nature and hazards of

cigarettes” pursuant to Illinois’ consumer fraud statute, and that defendants’ failure “to disclose the

full truth . . . was to the plaintiffs’ detriment.” Id. The Cleary plaintiffs, however, did not allege that

they suffered harm, relied on the defendants’ marketing, or would have acted differently if defendants

had made the proper disclosures. Id. As a result, the court held that defendants’ “retention of the

cigarette revenue is not a detriment to them,” and therefore dismissed the plaintiffs’ unjust enrichment

claim. Id. at 519–20. Here, Plaintiff similarly has not alleged that he would not have signed up for

or used the Binance.US platform if it had provided different or additional information concerning the

collection of biometric data. As a result, the retention by “Defendants” of fees from sales and

transfers—which is unconnected to Plaintiff’s provision of biometric information during the account

creation process—is in no sense a detriment to Plaintiff or unjust. This is yet another reason why this

Court should not let Plaintiff’s unjust enrichment claim stand.

        Even if this Court could exercise personal jurisdiction over BCM, it would have to dismiss

the FAC against BCM for failure to state any claims.




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                                           CONCLUSION

       Although Plaintiff had the benefit of seeing BCM’s prior motion to dismiss, the FAC’s

allegations come no closer to showing that this Court may constitutionally exercise jurisdiction over

BCM or that BCM was at all involved in the alleged BIPA violations.

       BCM has no connection to Illinois, and Plaintiff cannot hale it into this Court on the basis of

nothing more than conclusory, unsupported allegations that BCM and Binance.US are purportedly

co-conspirators, agents, or alter egos of one another. And that aside, it is still true that Plaintiff’s

biometric data was allegedly collected on the Binance.US platform, with which BCM has no

connection.

       This Court should therefore dismiss the FAC as to BCM with prejudice.




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Dated: March 15, 2022                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed electronically with the

 Clerk of the Court using the CM/ECF system on March 15, 2022, which will send notification

 of such filing to all counsel of record.



                                                /s/   Jacob L. Kahn
                                                      Jacob L. Kahn
